                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            Civil Action No. 3:23-cv-83

 STEPHANIE WALKER,                              )
                                                )
               Plaintiff,                       )
                                                         DEFENDANT CITY OF
                                                )
                                                      CHARLOTTE’S MOTION FOR
 v.                                             )
                                                    EXTENSION OF TIME TO REPLY TO
                                                )
                                                        PLAINTIFF’S RESPONSE
 CITY OF CHARLOTTE,                             )
                                                )
               Defendant.                       )

       COMES NOW, Defendant City of Charlotte (hereinafter “Defendant”), by and through the

undersigned counsel, hereby respectfully moves the Court pursuant to Federal Rule of Civil

Procedure 6(b) and Local Rule 7.1 for an Order extending the time for Defendant to Reply to

Plaintiff’s Response [Doc. 16] for seven (7) additional days for good cause shown, up to and

including August 10, 2023 be allowed.

       In support of this Motion for Extension of Time, Defendant states as follows:

       1.     On May 2, 2023, Plaintiff filed their Amended Complaint [Doc. 14].

       2.     Counsel for Defendant Waived Service of Summons as of May 17, 2023.

       3.     On July 17, 2023 Defendant timely responded to the Amended Complaint with their

              Motion to Dismiss and supporting Memorandum of Law [Doc. 15].

       4.     On July 27, 2023, Plaintiff filed their Response to the Motion to Dismiss [Doc. 16].

              Defendant’s Reply is now due August 3, 2023.

       5.     Counsel for Defendant represents that additional time is needed in order to properly

              review Plaintiff’s response and prepare an appropriate Reply.

       6.     This motion is filed in good faith for the reasons stated and not for purpose of delay.

       7.     Plaintiff’s counsel indicates he will not object to this Motion for Extension of Time.




      Case 3:23-cv-00083-MOC-DCK Document 17 Filed 07/28/23 Page 1 of 3
       8.     Defendant requests an additional seven (7) days or until August 10, 2023 to file

              their Reply to Plaintiff’s Response.

       WHEREFORE, Defendant City of Charlotte hereby respectfully requests that this Motion

for Extension of Time be GRANTED and for an Order enlarging the time to Reply to Plaintiff’s

Response by seven (7) days, or until August 10, 2023.

       This the 28th day of July, 2023.

                                            CRANFILL SUMNER LLP

                                     BY:    /s/Stephanie H. Webster
                                            Stephanie H. Webster, NC Bar No. 12164
                                            Ariella M. Zulman, NC Bar No. 55047
                                            Attorneys for Defendant City of Charlotte
                                            Post Office Box 30787
                                            Charlotte, North Carolina 28230
                                            Telephone: (704) 332-8300
                                            Facsimile: (704) 332-9994
                                            swebster@cshlaw.com
                                            azulman@cshlaw.com




       Case 3:23-cv-00083-MOC-DCK
4891-7402-3027, v. 1                       Document
                                              2     17 Filed 07/28/23 Page 2 of 3
                                  CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this day electronically filed the foregoing
DEFENDANT CITY OF CHARLOTTE’S MOTION FOR EXTENSION OF TIME TO REPLY
TO PLAINTIFF’S RESPONSE with the Clerk of Court using the CM/ECF system which will send
electronic notification of the filing to the following:

       M. Shane Perry
       Collum & Perry
       109 W. Statesville Ave.,
       Mooresville, NC 28115
       shane@collumperry.com
       Attorney for Plaintiff


       This the 28th day of July, 2023.

                                               CRANFILL SUMNER LLP

                                       BY:     /s/Stephanie H. Webster
                                               Stephanie H. Webster, NC Bar No. 12164
                                               Ariella M. Zulman, NC Bar No. 55047
                                               Attorneys for Defendant City of Charlotte
                                               Post Office Box 30787
                                               Charlotte, North Carolina 28230
                                               Telephone: (704) 332-8300
                                               Facsimile: (704) 332-9994
                                               swebster@cshlaw.com
                                               azulman@cshlaw.com




       Case 3:23-cv-00083-MOC-DCK
4891-7402-3027, v. 1                          Document
                                                 3     17 Filed 07/28/23 Page 3 of 3
